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18
19                      IN THE UNITED STATES DISTRICT COURT
20                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
21
22    K.J.P., a minor, and K.P.P., a minor,      )   No. 15-cv-2692-H-MDD
      individually, by and through their mother, )
23     LOAN THI MINH NGUYEN, who                 )   PRETRIAL JOINT MOTION TO
      also sues individually and as successor )      MODIFY ORDER RE EXPERT
24    in interest to her now deceased husband, )     DEPOSITION
      Lucky Phounsy, and KIMBERLY NANG )
25    CHANTHAPHANH, individually,                )
                                                 )   Judge: Hon. Marilyn Huff
26           Plaintiffs,                         )
      v.                                         )
27                                               )
      COUNTY OF SAN DIEGO; San Diego )
28    Sheriff WILLIAM GORE; RICHARD              )
      FISCHER; KEVIN RALPH; MARCOS )

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 1    COLLINS; JANAE KRULL; SANDRA )
      (JANET) CARBAJAL; BILLY        )
 2    TENNISION, III; DEAN ALLEN;    )
      MICHAEL LEE; JENNY MARTINSON; )
 3    TAMANI PUGH; AARON BROOKE; )
      JOVONNI SILVA; CITY OF SANTEE; )
 4    AARON BAGLEY; AARON            )
      HACKETT; AARON DO; ADAM        )
 5    DANIELS; DANIEL NEOW;          )
      LAKESIDE FIRE PROTECTION       )
 6    DISTRICT; MARC POYNTER; DAVID )
      CSIK;                          )
 7                                   )
           Defendants.               )
 8                                   )
 9
10         Plaintiffs K.J.P., K.P.P., Loan Thi Minh Nguyen, and Kimberly Nang
11   Chanthaphanh (“Plaintiffs”), and Defendants County of San Diego, Marcos Collins,
12   Janae Krull, Sandra Carbajal, Billy Tennison III, Dean Allen, Michael Lee, Jenny
13   Martinson, Tamani Pugh, Aaron Brooke, and Jovonni Silva (collectively “County
14   Defendants”), and Defendant Richard Fischer, by and through their respective counsel of
15   record, hereby make the following pretrial joint motion (CivLR 7.2) regarding Dr.
16   Richard Thrush.
17         This Court granted Defendants’ request to conduct a one-hour deposition of Dr.
18   Thrush, on the condition that it be conducted no later than February 1, 2021. (Doc. No.
19   248.) However, Plaintiffs represent that Dr. Thrush underwent surgery in December and
20   has a follow up surgery in early January. Because Dr. Thrush will be on pain
21   medications for the foreseeable future, Plaintiffs have informed the parties they cannot
22   guarantee Dr. Thrush will be able to prepare for or sit for a deposition before the start of
23   this trial. The parties thus agree to the following stipulation, resolving many of the issues
24   that would have been subject to deposition inquiry or Daubert challenges.
25                                        STIPULATION
26         1.     The parties stipulate that Dr. Thrush will not offer opinions regarding the
27   County of San Diego or County of San Diego Sheriff’s Department’s law enforcement
28   resources, including the following examples:


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 1              a. Whether a psychiatric emergency response team (PERT) or deputy was
 2                 available or whether they should have responded;
 3              b. Whether any other law-enforcement psychiatric resources were available or
 4                 should have been utilized.
 5         2.      The parties stipulate that Dr. Thrush will not offer opinions regarding the
 6   County of San Diego or County of San Diego Sheriff’s Department’s law enforcement
 7   training, including the following examples:
 8              a. Training (or lack of training) on positional asphyxia;
 9              b. Training (or lack of training) on de-escalation;
10              c. Training (or lack of training) on soliciting family to assist with an interaction
11              d. Training (or lack of training) on application of handcuffs;
12              e. Training (or lack of training) on application of maximum restraints;
13              f. Training (or lack of training) on positioning persons in maximum restraints.
14         3.      The parties stipulate that Dr. Thrush will not offer opinions regarding the
15   County of San Diego or County of San Diego Sheriff’s Department’s policies or
16   procedures, including:
17              a. Whether policy and procedures permit or prohibit deputies from leaving
18                 persons in maximal restraints in the prone position.
19         4.      The parties stipulate that Dr. Thrush will not offer opinions regarding
20   whether restraints or handcuffs were correctly applied, including the following
21   examples:
22              a. Whether maximum restraints were applied correctly to Mr. Phounsy;
23              b. Whether deputies checked if maximum restraints were applied correctly to
24                 Mr. Phounsy;
25              c. Whether handcuffs were applied correctly to Mr. Phounsy;
26              d. Whether deputies checked if handcuffs were applied correctly to Mr.
27                 Phounsy.
28   ///

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 1         This stipulation does not exclude opinions from Dr. Thrush regarding whether Mr.
 2   Phounsy was safely restrained1, as an example:
 3                e. Dr. Thrush disclosed in his R26 report “[i]t is my opinion that officers failed
 4                   to safely restrain Mr. Phounsy after they attempted to place him in
 5                   handcuffs.”
 6         This stipulation does not exclude opinions from Dr. Thrush regarding whether
 7   there are risks to putting individuals in maximum restraints2, as an example:
 8                f. Dr. Thrush disclosed in his R26 Supplemental Report that medical literature
 9                   shows known cardiac risks are associated with maximum restraints.
10         5.        The parties stipulate that Dr. Thrush will not offer opinions regarding
11   whether restraints or handcuffs were properly removed, including which individuals
12   held this responsibility.
13         6.        The parties stipulate that Dr. Thrush will not offer opinions regarding Mr.
14   Phounsy’s legal status, including when he was in detention or when he was placed in a
15   5150 hold.
16         7.        The parties stipulate that Dr. Thrush will not offer opinions regarding
17   mental health, psychology, or state of mind, including the following examples:
18                a. Whether the calls to 9-1-1 were psychiatric in nature;
19                b. Whether Mr. Phounsy had any existing or pre-existing psychiatric disease;
20                c. Whether Mr. Phounsy’s actions were driven or caused by a mental health
21                   condition, such as psychosis or paranoia;
22                d. Whether anything prompted Mr. Phounsy’s responses or reactions to
23                   deputies’ actions;
24                e. Whether Mr. Phounsy’s responses or reactions were in self-defense or an
25                   attempt to escape;
26                f. Any aspect of what Mr. Phounsy felt or expected;
27                g. Any aspect or theory of psychiatric de-escalation.
28
           1, 2
              This stipulation does not limit Defendants’ abilities or rights to object to this
     opinion or other opinions during examination.
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 1          8.     The parties make these stipulations while acknowledging that if Defendants
 2   solicit an opinion from a Defendant medical expert in an area excluded by this
 3   stipulation, Plaintiffs would be permitted to also question Dr. Thrush within the scope of
 4   that line of questioning.
 5          Accordingly, the parties hereby jointly move to modify the Court’s December 15,
 6   2020 Order (ECF No. 248) to relieve the parties of any requirement to complete Dr.
 7   Thrush’s deposition by February 1, 2021, provided the parties comply with the terms of
 8   this stipulation.
 9                                          Respectfully submitted,
10   DATED: January 7, 2021                 THOMAS E. MONTGOMERY, County Counsel
11
                                            By: s/ RONALD LENERT, Senior Deputy
12                                          Attorneys for Defendants County of San Diego,
                                            San Diego County Sheriff’s Department, Dean
13                                          Allen, Aaron Brooke, Sandra Carbajal, Marcos
                                            Collins, Janae Krull, Michael Lee, Jenny
14                                          Martinson, Tamani Pugh, Jovonni Silva, and Billy
                                            Tennison
15
16   DATED: January 7, 2021                 MANNING & KASS
                                            ELLROD, RAMIREZ, TRESTER LLP
17
18                                          By: s/ MILDRED O’LINN
                                            Attorney for Defendant Richard Fischer
19
20   Dated: January 7, 2021                 SINGLETON LAW FIRM, APC
                                            THE LAW OFFICES OF JOHN BURTON
21   ________
                                            By: s/ Gerald Singleton, Esq.
22                                              s/ Brody A. McBride, Esq.
                                            Attorneys for Plaintiffs
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 1         I certify that Brody McBride, Singleton Law Firm APC, an attorney for Plaintiffs,
 2   and that Mildred O’Linn, Manning & Kass Ellrod Ramirez Trestler LLP, an attorney for
 3   Richard Fischer, have authorized their electronic signatures to this stipulation.
 4                                           Respectfully submitted,
 5   DATED: January 7, 2021                  THOMAS E. MONTGOMERY, County Counsel
 6
                                             By: s/ RONALD LENERT, Senior Deputy
 7                                           Attorneys for Defendants County of San Diego,
                                             San Diego County Sheriff’s Department, Dean
 8                                           Allen, Aaron Brooke, Sandra Carbajal, Marcos
                                             Collins, Janae Krull, Michael Lee, Jenny
 9                                           Martinson, Tamani Pugh, Jovonni Silva, and Billy
                                             Tennison
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